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                        EXHIBIT 1




                                                                 Appx. 00001
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                                                                                                       EXHIBIT 1*
                                                                                                        MAIN CASE
                                           In re Highland Capital Management, L.P., Case No. 19-34054-sgj11 (Bankr. N.D. Tex.)
  Date             Motion or Claim              Movant / Objector                        Summary of Motion or Claim                                                                    Status
7/30/20 First Omnibus Objection to Certain          Claimant:      HCRE asserted Highland had no interest in SE Multifamily due to mutual                                          CONCLUDED:
         (A) Duplicate Claims; (B)                    HCRE         mistake and lack of consideration.                                                                 Trial was held November 1, 2022. On
         Overstated Claims; (C) Late-Filed          Objector:      After engaging in substantial discovery and litigating Highland’s motion to                        April 28, 2023, the Court entered its order
         Claims; (D) Satisfied Claims; (E) No        Highland      disqualify HCRE’s counsel due to conflict of interest, HCRE filed a motion                         sustaining Highland’s objection to
         Liability Claims; and (F)                                 to withdraw its proof of claim [DI 3443]. Highland objected [DI 3487]. The                         HCRE’s claim, and disallowing the claim
         Insufficient-Documentation Claims                         Court held a hearing on September 12, 2022 and denied withdrawal of the                            [DI 3767].
         [DI1 906] (solely with respect to                         claim after Dondero would not agree to refrain from filing the same claim in
         Proof of Claim No. 146 Filed by                           a different forum [DI 3525].
         HCRE Partners, LLC)
9/23/20 Debtor’s Motion for Entry of an              Movant:       Acis filed a claim for at least $75 million. Acis’s claim resulted from an                                       CONCLUDED:
         Order Approving Settlement with (a)         Highland      involuntary bankruptcy initiated when Dondero refused to satisfy an                                Dondero appealed [DI 1347]. On March
         Acis Capital Management, L.P. and          Objectors:     arbitration award and instead fraudulently transferred assets to leave Acis                        18, 2022, this Court dismissed the appeal
         Acis Capital Management GP LLC              Dondero       judgment proof. Highland settled for an allowed Class 8 claim of $23 million                       as constitutionally moot [Dist. Ct. Case
         (Claim No. 23), (b) Joshua N. Terry                       and approximately $1 million in cash. t                                                            No. 3:20-cv-03390-X, DI 25].
         and Jennifer G. Terry (Claim No.                          Dondero objected to the settlement [DI 1121] alleging it was unreasonable
         156), and (c) Acis Capital                                and constituted vote buying. The Acis Settlement Motion was approved and
         Management, L.P. (Claim No. 159)                          Dondero’s objection was overruled [DI 1302].
         and Authorizing Actions Consistent
         Therewith [DI 1087]
11/18/20 Motion of the Debtor Pursuant to 11         Movant:       Highland filed a motion seeking to retain a sub-servicer to assist in its                                        CONCLUDED:
         U.S.C. §§ 105(a) and 363(b) for             Highland      reorganization consistent with the proposed plan. Dondero alleged the sub-                         Dondero withdrew his objection [DI 1460]
         Authority to Enter into Sub-Servicer       Objectors:     servicer was not needed, was too expensive, and would not be subject to                            after forcing Highland to incur costs
         Agreements [DI 1424]                        Dondero       Bankruptcy Court jurisdiction [DI 1447].                                                           responding [DI 1459]
11/19/20 James Dondero’s Motion for Entry            Movant:       Dondero alleged Highland sold assets in violation of 11 U.S.C. § 363 and                                        CONCLUDED:
         of an Order Requiring Notice and            Dondero       without providing Dondero a chance to bid. Dondero requested an emergency                          Dondero withdrew this motion [DI 1622]
         Hearing for Future Estate                                 hearing [DI 1443]. Dondero filed this motion despite having agreed to the                          after Highland and the Committee were
         Transactions Occurring Outside of                         Protocols governing such sales.                                                                    forced to incur costs responding and
         the Ordinary Course [DI 1439]                                                                                                                                preparing for trial [DI 1546, 1551].
 12/8/20 Motion for Order Imposing                   Movants:      Movants sought to prevent Highland from causing the CLOs to sell assets                                         CONCLUDED:
         Temporary Restrictions on Debtor’s       Advisors2 Funds  without Movants’ consent. Movants provided no support for this position,                           The motion was denied [DI 1605] and was
         Ability, as Portfolio Manager, to                         which directly contradicted the terms of the CLO Agreements. The Motion                            characterized as “frivolous.”
         Initiate Sales by Non-Debtor CLO                          was filed notwithstanding the Protocols governing such sales. Movants
         Vehicles [DI 1522, 1528]                                  requested an emergency hearing [DI 1523].
12/23/20 Debtor’s Motion for Entry of an                           Movant:             HarbourVest asserted claims in excess of $300 million in connection with an                     APPEAL:
         Order Approving Settlement with                           Highland            investment in a fund indirectly managed by Highland for, among other           The Trusts appealed [DI 1870]. This Court
         HarbourVest (Claim Nos. 143, 147,                        Objectors:           things, fraud and fraudulent inducement, concealment, and misrepresentation.   affirmed and dismissed Dugaboy’s appeal
         150, 153, 154) and Authorizing                            Dondero             Highland settled for an $80 million allowed Class 8 and 9 claim and the        for lack of standing [Dist. Ct. Case No.
         Actions Consistent Therewith [DI                           Trusts3            transfer of certain assets to a Highland subsidiary. Dondero and the Trusts    3:21-00261-L, DI 38]. Dugaboy appealed
         1625]                                                      CLOH               alleged the settlement was unreasonable; was a windfall to HarbourVest; and    [DI 40]. Oral argument held May 1, 2023.
                                                                                       vote buying [DI 1697, 1706]. CLOH argued the settlement could not be           Appeal is sub judice.
                                                                                       effectuated under the operative documents [DI 1707]. After analyzing           CLOH and DAF separately filed a
                                                                                       Highland’s response, CLOH publicly withdrew its objection. The settlement      complaint in this Court alleging, among
                                                                                       was approved and the remaining objections were overruled [DI 1788].            other things, the settlement was a breach of
                                                                                                                                                                      duty and a RICO violation. See infra.

All capitalized terms used but not defined herein have the meanings given to them in Highland Capital Management, L.P.’s
Memorandum of Law in Support of Its Motion to Deem the Dondero Entities Vexatious Litigants and for Related Sanctions.                                                                                               1

                                                                                                                                                                                          Appx. 00002
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 Date            Motion or Claim              Movant / Objector                  Summary of Motion or Claim                                              Status
1/14/21   Motion to Appoint Examiner             Movants:         Movants filed an emergency motion for the appointment of an                      CONCLUDED:
          Pursuant to 11 U.S.C. § 1104I [DI        Trusts         examiner after commencement of Plan solicitation and 14            The motion was denied [DI 1960].
          1745, 1752]                         Dondero [DI 1756]   months postpetition. [DI 1748].
1/20/21   James Dondero’s Objection to            Objector:       Dondero objected to Highland’s proposed assumption of two                         CONCLUDED:
          Debtor’s Proposed Assumption of         Dondero         limited partnership agreements [DI 1719].                          Dondero withdrew his objection [DI 1876] after
          Executory Contracts and Cure                                                                                               forcing Highland to incur costs responding.
          Amounts Proposed in Connection
          Therewith [DI 1784]
1/22/20   Fifth Amended Plan of                   Objectors:      All objections to the Plan were consensually resolved prior to                         APPEAL:
          Reorganization [DI 1472]            Dondero [DI 1661]   the confirmation hearing except for the objections of the          Dondero, the Trusts, the Advisors, and the
                                               Trusts [DI 1667]   Dondero Entities and the U.S. Trustee. The U.S. Trustee did not    Funds appealed [DI 1957, 1966, 1970, 1972].
                                                                  press its objection at confirmation.                               On August 19, 2022, the Fifth Circuit affirmed
                                              Senior Employees                                                                       the Confirmation Order in all respects except
                                                  [DI 1669]       All objections were overruled and the Confirmation Order was       with respect to the exculpation. [Case No. 21-
                                              Advisors & Funds    entered. The Confirmation Order specifically found that            10449, DI 00516439341]. On September 2,
                                                  [DI 1670]       Dondero threatened to “burn the place down” if his case            2022, the Funds petitioned for rehearing
                                                                  resolution plan was not accepted.                                  requesting the Fifth Circuit limit the
                                               HCRE [DI 1673]
                                               CLOH [DI 1675]                                                                        Gatekeeper. On September 7, 2022, the Fifth
                                                                                                                                     Circuit granted rehearing but did not grant the
                                              NexBank Entities                                                                       requested relief. [DI 516462923].
                                                  [DI 1676]
                                                                                                                                     Highland moved to conform the Plan on
                                                                                                                                     September 9, 2022. [DI 3503]. The Dondero
                                                                                                                                     Entities objected [DI 3539, 3540, 3551]
                                                                                                                                     requesting the Bankruptcy Court limit the
                                                                                                                                     Gatekeeper.
                                                                                                                                     On February 27, 2023, the Court issued its order
                                                                                                                                     granting motion to conform [DI 3672]. The
                                                                                                                                     Advisors appeal of the order was certified for
                                                                                                                                     direct appeal to the Fifth Circuit. [Case No. 23-
                                                                                                                                     10534]. Briefing in process.
                                                                                                                                     Highland and the Dondero Entities filed
                                                                                                                                     petitions for writ of cert. to SCOTUS on issues
                                                                                                                                     of (a) standard of care and (b) exculpation
                                                                                                                                     provision in Plan. Case No. 22-631 (Jan. 5,
                                                                                                                                     2023); Case No. 22-669 (Jan. 16, 2023).
                                                                                                                                     Solicitor General was invited to file a brief in
                                                                                                                                     Supreme Court cases expressing the views of
                                                                                                                                     the United States.
1/24/21   Application for Allowance of            Movants:        The Advisors sought an administrative expense claim for                                APPEAL:
          Administrative Expense Claim            Advisors        approximately $14 million alleging they overpaid Highland          The Advisors’ appeal [AP. No. 21-3010, DI
          [DI 1826]; [rel. Adv. Proc. No.                         under certain Shared Services Agreements (“SSAs”) and Payroll      128] was docketed to Dist. Ct. Case No. 3:22-
          21-3010-sgj]                                            Reimbursement Agreements (“PRAs”). Highland brought a              cv-02170. Briefing on appeal is complete, and
                                                                  breach of contract claim against the Advisors for failure to pay   matter is sub judice.
                                                                  amounts owed under the SSAs and PRAs [AP No. 21-3010, DI
                                                                  1]. The claims were consolidated under AP 21-3010 since both
                                                                  arose from the SSAs and PRAs.
                                                                  After a two-day trial, the Court granted Highland’s breach of
                                                                  contract claim, denied the Advisors’ admin claim. [AP No. 21-
                                                                  3010, DI 124], and entered judgment [AP No. 21-3010, DI 126].                                                          2

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 Date            Motion or Claim             Movant / Objector                      Summary of Motion or Claim                                              Appeal
3/18/21   James Dondero, Highland Capital        Movants:        In March 2021, the Dondero Entities filed a motion to recuse Judge                      CONCLUDED:
          Management Fund Advisors, L.P.,        Dondero         Jernigan [DI 2060, 2061, 2062] (the “Original Recusal Motion”). Judge      Movants filed a petition for writ of
          NexPoint Advisors, L.P., The           Advisors        Jernigan denied the motion finding, among other things, it was untimely    mandamus on April 4, 2023 to the
          Dugaboy Investment Trust, The                          and failed to show bias. [DI 2083] (the “Recusal Order”). The Movants      District Court [Case No. 21-cv-879,
          Get Good Trust, and NexPoint            Trusts         appealed [DI 2149, 2169, 2203].                                            Docket no. 41]. The next day, the
          Real Estate Partners, LLC, f/k/a        HCRE                                                                                      District Court entered an order directing
          HCRE Partners, LLC, a Delaware                         In February 2022, this Court entered its Memorandum Opinion and            the clerk to unfile the mandamus
          Limited Liability Company’s                            Order [Dist. Ct. Case No. 3:21-cv-00879-K, DI 39], finding the Recusal     petition [Docket no. 42].
          Motion to Recuse Pursuant to 28                        Order was a non-appealable interlocutory order.
          U.S.C. § 455 [DI 2060]                                 Notwithstanding this Court’s Order, in July 2022, Movants filed a
                                                                 supplemental motion to recuse in the Bankruptcy Court, [DI 3470] (the
                                                                 “Supplemental Recusal Motion”), requesting entry of a final, appealable
                                                                 recusal order.
                                                                 On September 1, 2022, the Bankruptcy Court denied the Supplemental
                                                                 Recusal Motion finding it “procedurally improper,” [DI 3479], but
                                                                 invited Movants to file (i) a “simple motion” seeking an amended order
                                                                 removing the “reservation of rights” and/or (ii) a new motion to recuse
                                                                 in front of the Bankruptcy Court.
                                                                 On September 27, 2022, Movants filed a renewed motion to recuse [DI
                                                                 3541] (the “Renewed Recusal Motion”), and then on October 17, 2022,
                                                                 filed an amended renewed motion to recuse, [DI 3570]. On March 6,
                                                                 2023, the Bankruptcy Court entered its order denying the amended
                                                                 renewed motion to recuse [DI 3676].
4/14/21   Debtor's Motion to Disqualify         Movant:          After Wick Philips refused to withdraw, Highland moved to disqualify                  CONCLUDED:
          Wick Phillips Gould & Martin,         Highland         them from serving as counsel to HCRE in connection with the                In December 2021, the Bankruptcy
          LLP as Counsel to HCRE                Objector:        prosecution of HCRE’s Proof of Claim on the ground that Wick Phillips      Court granted the motion disqualifying
          Partners, LLC and for Related       HCRE [DI 2278]     jointly represented Highland and HCRE (and others) in the negotiation,     Wick Phillips from serving as counsel
          Relief [DI 2196]                                       drafting and formation of the contracts at issue and therefore was         to HCRE [DI 3106]
                                                                 conflicted.
4/15/21   Debtor’s Motion for Entry of an        Movant:         UBS) asserted claims against Highland in excess of $1 billion arising                       APPEAL:
          Order Approving Settlement with        Highland        from two Highland-managed funds’ breach of contract. The settlement        The Dondero Entities appealed [DI
          UBS Securities LLC and UBS AG                          resolved over ten years of litigation but had to be renegotiated after     2398]. In September 2022, this Court
          London Branch and Authorizing                          Highland discovered Dondero-controlled Highland had caused the funds       affirmed the Bankruptcy Court’s
          Actions Consistent Therewith                           to fraudulently transfer over $300 million in assets to Sentinel           settlement order, [Dist. Ct. Case No.
          [DI 2199]                                              Reinsurance Ltd. (“Sentinel”), a Cayman-based entity controlled by         3:21-cv-01295-X, DI 34], finding, in
                                                                 Dondero and Ellington, in 2017 to thwart UBS’s ability to collect on its   pertinent part, that in their’ “zeal to
                                                                 judgment.                                                                  bamboozle this Court,” they omitted
                                                                                                                                            critical facts. Id. at 12.
                                                                 Only Dondero [DI 2295] and Dugaboy [DI 2268, 2293] objected. The
                                                                 UBS settlement was approved in May 2021 [DI 2389].                         In October 2022, the Dondero Entities
                                                                                                                                            appealed this Court’s order to the Fifth
                                                                                                                                            Circuit. USCA Case No. 22-10983.
                                                                                                                                            Oral argument held June 5, 2023.
                                                                                                                                            Matter is sub judice.




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 Date            Motion or Claim               Movant / Objector                      Summary of Motion or Claim                                             Status
4/23/21   Motion for Modification of Order         Movants:        Over 9 months after its entry and post-confirmation of the Plan, DAF                     APPEAL:
          Authorizing Appointment of                 DAF           and CLOH filed a motion to modify the July Order, alleging the         In September 2022, after the Fifth Circuit
          James P. Seery, Jr. Due to Lack of        CLOH           Bankruptcy Court lacked subject matter jurisdiction.                   affirmed the Confirmation Order, Highland
          Subject Matter Jurisdiction                              Highland opposed the motion [DI 2311] arguing it was a collateral      moved for summary affirmance [DI 23].
          [DI 2242]                                                attack barred by res judicata, among other things. The Committee       Appellants opposed [DI 24], and filed a
                                                                   joined the opposition [DI 2315]. The Motion was denied on June 25,     motion to reopen the appeal [DI 25], which
                                                                   2021 [DI 2506].                                                        Highland opposed [DI 27].
                                                                   DAF and CLOH appealed, [DI 2513], but moved to stay the appeal         Because they missed the deadline to file
                                                                   pending the Fifth Circuit’s determination of the appeal of the         their opening brief, Appellants also filed a
                                                                   Confirmation Order [Dist. Ct. Case No. 3:21-cv-01585-S, DI 10].        belated motion for an extension of time [DI
                                                                   This Court granted the stay motion [DI 21] and, in connection with     29], claiming “excusable neglect.”
                                                                   the Partially Opposed Motion for Extension of Time to File             In November 2022, this Court ordered the
                                                                   Appellants'' Opening Brief, directed the appellants to file their      appeal remain abated pending resolution of
                                                                   opening brief within 14 days of resolution of the Confirmation Order   the DAF parties’ Fifth Circuit appeal of the
                                                                   [DI 19], which they failed to do.                                      order holding them in contempt [USCA
                                                                                                                                          Case No. 22-11036, DI 34], on the ground
                                                                                                                                          that it was a “related case.”
4/27/21   Debtor’s Motion for an Order             Movant:         Highland filed a motion by order to show cause why Dondero,                              APPEAL:
          Requiring the Violators to Show          Highland        CLOH, DAF, and their counsel should not be held in contempt of         In August 2021, the Contemnors appealed
          Cause Why They Should Not Be                             court for violating the January and July Orders. The Bankruptcy        [DI 2712, 2713, 2758].
          Held in Civil Contempt for                               Court entered an order to show cause [DI 2255] and set an in-person    In September 2022, this Court affirmed the
          Violating Two Court Orders                               hearing for June 8, 2021.                                              Bankruptcy Courts order in relevant part
          [DI 2247]                                                On August 4, 2021, following briefing and an evidentiary hearing,      [Dist. Ct. Case No. 3:21-cv-01974-X,
                                                                   the Court held Dondero, CLOH, DAF and others (the “Contemnors”)        DI 49].
                                                                   in contempt of court [DI 2660].                                        In October 2022, the Contemnors appealed
                                                                                                                                          to the Fifth Circuit [USCA Case No. 22-
                                                                                                                                          11036]. Briefing complete, oral argument
                                                                                                                                          tentatively scheduled.
4/29/21   Motion to Compel Compliance              Movants:        The Trusts filed a motion seeking to compel Highland to file certain                    APPEALS:
          with Bankruptcy Rule 2015.3               Trusts         reports under Bankruptcy Rule 2015.3 [DI 2256]. Highland [DI           In August 2022, following the Trusts’
          [DI 2256]                                                2341] and the Committee [DI 2343] opposed the motion.                  appeal, [DI 2840], this Court dismissed the
                                                                   Following a hearing in June 2021 [DI 2442], the motion was             appeal as constitutionally moot [Dist. Ct.
                                                                   adjourned and later denied as moot after Highland’s Plan became        Case No. 3:21-cv-02268-S, DI 21].
                                                                   effective. [DI 2812].                                                  The Dondero Entities appealed to the Fifth
                                                                                                                                          Circuit. [USCA Case No. 22-10831].
                                                                                                                                          In February 22023, the Fifth Circuit issued
                                                                                                                                          its order and judgment affirming the
                                                                                                                                          District Court [USCA Case No. 22-10831,
                                                                                                                                          Docket Nos. 46, 47].
6/25/21   Debtor’s Motion for Entry of an          Movant:         Highland filed a motion seeking authority to create an indemnity                        APPEAL:
          Order (i) Authorizing the (a)            Highland        trust to secure the Reorganized Highland, Claimant Trust, and          After the Dondero Entities appealed [DI
          Creation of an Indemnity Subtrust                        Litigation Trust’s indemnification obligations [DI 2491]. Dondero,     2673], this Court affirmed the Bankruptcy
          and (b) entry into an Indemnity                          HCMFA, NPA, and Dugaboy objected [DI 2563] arguing it was an           Court’s order. [Dist. Ct. Case No. 3:21-cv-
          Trust Agreement and (ii) Granting                        improper plan modification. A hearing was held in July 2021 and        01895-D, DI 45]. The Dondero Entities
          Related Relief [DI 2491]                                 Highland’s motion was granted [DI 2599].                               appealed. [USCA Case No. 22-10189]. In
                                                                                                                                          January 2023, the Fifth Circuit affirmed
                                                                                                                                          this Court’s order. [USCA Case No. 22-
                                                                                                                                          10189, Document No. 90-1].
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 Date            Motion or Claim              Movant / Objector                         Summary of Motion or Claim                                                 Status
7/8/21    Motion of the Debtor for Entry of        Movant:          Highland filed a motion seeking authority to sell certain real property                   CONCLUDED:
          an Order (I) Authorizing the Sale        Highland         [DI 2535]. NPA objected [DI 2621] arguing Highland created a sale              A hearing was held on August 4, 2021
          of Certain Property and (II)             Objector:        process designed to exclude NPA without a sound business justification.        and Highland’s motion was granted
          Granting Related Relief [DI 2535]          NPA                                                                                           over NPA’s objection [DI 2687].

7/8/21    Motion of the Debtor for Entry of        Movant:          Highland filed a motion seeking authorization to sell, among other                        CONCLUDED:
          an Order (I) Authorizing the Sale        Highland         things, certain limited partnership interests in PetroCap Partners III, L.P.   In August 2021, the Bankruptcy Court
          and/or Forfeiture of Certain             Objector:        [DI 2537]. NPA objected, seeking to inject itself into the bidding             overruled NPA’s objection and granted
          Limited Partnership Interests and         NPA             process. [DI 2626].                                                            Highland’s motion [DI 2699].
          Other Rights and (II) Granting
          Related Relief [DI 2537]
10/8/21   Final Fee applications of FTI [DI        Movants:         PSZJ, Wilmer Cutler, Teneo Capital, Sidley Austin, and FTI filed final                        APPEALS:
          2902], Teneo Capital [DI 2903],         Highland’s        fee applications in the Bankruptcy Court. NPA objected [DI 2977,               NPA filed notices of appeal to this
          Sidley Austin [DI 2904], PSZJ          professionals      3015], sought permission to employ a fee examiner to review the fee            Court [DI 3076, 3077, 3078, 3079, and
          [DI 2906], and Wilmer Cutler            Objector:         applications, and sought expansive discovery.                                  3080], which were then consolidated
          [2907]                                     NPA                                                                                           [Dist. Ct. Case No. 21-cv-3086-K,
                                                                    In November 2021, the fee applications were granted after substantial          DI 9]. In May 2022, this Court
                                                                    briefing and a hearing. [DI 3047, 3048, 3056, 3057, and 3058].                 dismissed the appeal as constitutionally
                                                                                                                                                   moot [Dist. Ct. Case No. 21-cv-3086-K,
                                                                                                                                                   DI 37]. NPA appealed [DI 39]. Fifth
                                                                                                                                                   Circuit briefing is complete and the
                                                                                                                                                   appeal is under advisement [USCA 22-
                                                                                                                                                   10575].
1/11/22   Motion to Ratify Second                   Movant:         CLOH’s requested to ratify its Second Amended CLO HoldCo Crusader                             STATUS:
          Amendment to Proof of Claim                CLOH           Claim [Proof of Claim No. 198], and deny the Litigation Trustee                CLOH’s motion was denied by the
          [Claim No. 198] and Response to           Objector:       Objection as moot.                                                             Bankruptcy Court [DI 3457], and its
          Objection to Claim [DI 3177,         Litigation Trustee                                                                                  appeal was rejected by this Court. See
          3178]                                                                                                                                    CLO Holdco, Ltd. v. Kirschner (In re
                                                                                                                                                   Highland Cap. Mgmt., L.P.), No. 3:22-
                                                                                                                                                   CV-2051-B, 2023 U.S. Dist. LEXIS
                                                                                                                                                   87842, at *1 (N.D. Tex. May 18, 2023).
                                                                                                                                                   CLOH has appealed to the Fifth Circuit
                                                                                                                                                   [Case No. 3:22-cv-02051-B D, DI 20].
 Jan.     NPA acquisition of claim                    N/A           In January 2022, NPA acquired a disputed employee claim [DI 3146],             Briefing complete.
 2022     [DI 3146]                                                 which was expunged [DI 3180]. NPA has appealed. Case 3:22-cv-
                                                                    00335-L




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 Date            Motion or Claim             Movant / Objector                          Summary of Motion or Claim                                               Status
6/30/22   Motion for Determination of the        Movant:            Dugaboy moved for a determination of the current value of the estate                         STATUS:
          Value of the Estate and Assets         Dugaboy            and an accounting of its assets available for distribution, arguing it was   During a hearing held in November
          Held by the Claimant Trust [DI         Objector:          somehow in the money and therefore had appellate standing and rights         2022, the Court questioned whether the
          3382]                                  Highland           (the “Valuation Motion”) [DI 3382]. Highland objected. [DI 3465].            relief could only be obtained through an
                                                                                                                                                 adversary proceeding and requested
                                                                    After Dugaboy amended its Valuation Motion in September 2022 [DI             additional briefing [DI 3625].
                                                                    3533, 3535], Highland filed its reply in further opposition [DI 3614].
                                                                                                                                                 After reviewing the supplemental
                                                                                                                                                 briefs, the Court ruled an adversary
                                                                                                                                                 proceeding was required [DI 3645].
                                                                                                                                                 On May 10, 2023, Dugaboy and Hunter
                                                                                                                                                 Mountain filed a complaint seeking
                                                                                                                                                 declaratory relief as to the value of the
                                                                                                                                                 Claimant Trust assets and their interest
                                                                                                                                                 therein [AP No. 23-03038-sgj, Docket
                                                                                                                                                 No. 1].
                                                                                                                                                 The timing of Highland’s motion to
                                                                                                                                                 dismiss must be fixed.
2/6/23    Motion for Leave to File               Movants:           Following the ruling on the Valuation Motion, Dugaboy and Hunter                             STATUS:
          Proceeding [DI 3662]                  Dugaboy and         Mountain Investment Trust filed a motion for leave to file a complaint       On May 10, 2023, the parties filed a
                                              Hunter Mountain       against Highland seeking information about the estate’s current assets,      stipulation withdrawing the motion [DI
                                              Investment Trust      results of asset sales, and amounts distributed to creditors.                3662].
                                                 Objector:
                                                 Highland

3/28/23   Hunter Mountain Investment              Movant:           Hunter Mountain seeks leave of the Bankruptcy Court to file a complaint      Trial was held June 8, 2023, and the
          Trust’s Emergency Motion for        Hunter Mountain       against defendants Seery, Stonehill, and Farallon alleging both direct       matter is under advisement.
          Leave to File Verified Adversary    Investment Trust      and derivative claims on behalf of Highland of insider trading and
          Proceeding [DI 3699]                   Objector:          breach of fiduciary duty. The proposed complaint alleges that Seery
                                             Highland, Highland     engaged in a quid pro quo with Stonehill and Farallon by which Seery
                                               Claimant Trust,      put Stonehill and Farallon on the Oversight Board in exchange for a
                                             James P. Seery, Jr.,   “rubber stamp” of Seery’s compensation as CEO of Highland.
                                             Farallon, Stonehill
6/15/23   The Dugaboy Investment Trust’s          Movant:           Dugaboy seeks to preserve the ESI contained on Seery’s iPhone and to         The timing of Highland’s objection
          Motion to Preserve Evidence and         Dugaboy           permit the recoveryof his text messages. The basis for this motion was       must be fixed.
          Compel Forensic Imaging of                                information learned through discovery in a separate action brought by
          James P. Seery, Jr.’s Phone                               Scott Ellington, Highland’s former general counsel, against a former
          [Docket No. 3802]                                         Highland employee, in which Ellington subpoenad Highland’s
                                                                    independent directors and bankruptcy counsel, as well as other parties to
                                                                    the bankruptcy case, requiring a motion for a protective order. See infra.




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                                                              ADVERSARY PROCEEDINGS
                          Highland Capital Management, L.P. v. James D. Dondero, Adv. Proc. No. 20-03190-sgj (Bankr. N.D. Tex.)
 Date          Motion / Complaint           Plaintiff                      Summary of Proceeding                                                         Status
12/7/20   Plaintiff Highland Capital          Movant:       In December 2020, after Dondero interfered with the management of the                    CONCLUDED:
          Management, L.P.’s Emergency        Highland      estate and threatened certain employees, Highland commenced an               Dondero appealed to this Court [Dist.
          Motion for a Temporary                            adversary proceeding and sought [DI 2] and obtained a TRO [DI 10] and        Ct. Case No. 3:21-cv-01590-N] (which
          Restraining Order and Preliminary                 a Preliminary Injunction [DI 59] against Dondero prohibiting him from        declined to hear the interlocutory
          Injunction against Mr. James                      interfering with Highland’s estate and enjoining him from engaging in        appeal), and filed a petition for writ of
          Dondero [DI 2]                                    other wrongful conduct.                                                      mandamus from the Fifth Circuit.
                                                                                                                                         Ultimately, a consensual injunction was
                                                                                                                                         entered [DI 182] and the writ of
                                                                                                                                         mandamus was withdrawn.
1/7/21    Plaintiff’s Motion for an Order     Movant:       In late December 2020, Highland discovered Dondero had violated the                          APPEALS:
          Requiring Mr. James Dondero to      Highland      TRO by, among other things, again interfering with the management of         Dondero appealed [DI 212]. In August
          Show Cause Why He Should Not                      the estate and conspiring with Highland’s then-general counsel and           2022, this Court affirmed in substantial
          Be Held in Civil Contempt for                     assistant general counsel to coordinate offensive litigation against         part [Dist. Ct. Case No. 3:21-cv-01590-
          Violating the TRO [DI 48]                         Highland. An extensive evidentiary hearing was held in March 2021,           N, DI 42].
                                                            and on June 7, 2021, the Bankruptcy Court entered an order finding           Dondero appealed to the Fifth Circuit
                                                            Dondero in contempt of court [DI 190].                                       [USCA Case Number 22-10889].
                                                                                                                                         Briefing complete, oral argument
                                                                                                                                         tentatively scheduled.

                       Highland Capital Management, L.P. v. Highland Capital Management Fund Advisors, L.P., NexPoint Advisors, L.P.,
                         Highland Income Fund, NexPoint Strategic Opportunities Fund, NexPoint Capital, Inc., and CLO Holdco, Ltd.,
                                                       Adv. Proc. No. 21-03000-sgj (Bankr. N.D. Tex.)
 Date          Motion / Complaint             Plaintiff                           Summary of Proceeding                                                  Status
1/6/21    Plaintiff’s Emergency Motion for    Movant:       In late December 2020, Highland received threatening letters from the                     CONCLUDED:
          a Temporary Restraining Order       Highland      Funds, the Advisors, and CLOH regarding Highland’s management of             In September 2021, the Court entered
          and Preliminary Injunction                        the CLOs. These letters reiterated the arguments made by these parties       its order approving the settlement
          Against Certain Entities Owned                    in their December motion that the Bankruptcy Court denied as                 [DI 2829].
          and/or Controlled by Mr. James                    “frivolous.” Highland sought to prevent the Dondero Entities from
          Dondero [DI 2]                                    improperly interfering in the management of the estate. In January 2021,
                                                            the parties agreed to entry of a TRO [DI 20] and later a final disposition
                                                            of the matter pursuant to Bankruptcy Rule 9019 [DI 2589].

                     Highland Capital Management, L.P. v. Highland Capital Management Fund Advisors, L.P. and NexPoint Advisors, L.P.,
                                                       Adv. Proc. No. 21-03010-sgj (Bankr. N.D. Tex.)
 Date          Motion / Complaint             Plaintiff                           Summary of Proceeding                                                  Status
2/17/21   Debtor’s Emergency Motion for a     Plaintiff:    Highland’s Plan called for a substantial reduction in its work force. As                 CONCLUDED:
          Mandatory Injunction Requiring      Highland      a result, Highland terminated certain shared services agreements and         During the hearing, the Advisors
          the Advisors to Adopt and                         attempted to negotiate a transition plan with the Advisors to enable         announced for the first time they had
          Implement a Plan for the                          them to continue providing services to their funds without interruption,     cobbled together their own transition
          Transition of Services by                         but the Advisors would not say “yes.” Concerned the Advisors would           plan. An order was entered in February
          February 28, 2021 [DI 2]                          be unable to service its clients, Highland commenced this action to          2021 [DI 25] making factual findings
                                                            force the Advisors to adopt a transition plan.                               and ruling the injunction was moot.



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                                                  CONSOLIDATED NOTES LITIGATION (Bankr. N.D. Tex.)
                        MEMBER CASES: Adv. Proc. Nos. 21-03003-sgj, 21-03004-sgj, 21-03005-sgj, 21-03006-sgj, 21-03007-sgj, 21-03082-sgj
                                                                            MAIN NOTES LITIGATION
1.   Highland Capital Management, L.P. v. James Dondero, Adv. Proc. No. 21-03003-sgj (Bankr. N.D. Tex.)
2.   Highland Capital Management, L.P. v. Highland Capital Management Fund Advisors, L.P., Adv. Proc. No. 21-03004-sgj (Bankr. N.D. Tex.)
3.   Highland Capital Management, L.P. v. NexPoint Advisors, L.P., Adv. Proc. No. 21-03005-sgj (Bankr. N.D. Tex.)
4.   Highland Capital Management, L.P. v. Highland Capital Management Services, Inc., Adv. Proc. No. 21-03006-sgj (Bankr. N.D. Tex.)
5.   Highland Capital Management, L.P. v. HCRE Partners, LLC (n/k/a NexPoint Real Estate Partners, LLC), Adv. Proc. No. 21-03007-sgj (Bankr. N.D. Tex.)
 Date       Motion / Complaint        Plaintiff                                             Summary of Proceeding                                                           Status
1/22/21     Complaint for (i)         Plaintiff:   After Dondero and four affiliates (HCMFA, NPA, HCMS, HCRE) refused to satisfy over $60 million on certain             CONCLUDED:
            Breach of Contract and   Highland      promissory notes, Highland filed collection actions against each Dondero Entity. See AP Nos. 21-03003-sgj; 21-      On July 6, 2 023,
            (ii) Turnover of                       03004-sgj; 21-03005-sgj; 21-03006-sgj; 21-03007-sgj.                                                                the District Court
            Property of the                        Three months after the complaint was filed, the Dondero Entities moved to withdraw the reference. Following a       entered an order
            Debtor’s Estate [DI 1]                 hearing in May 2021, the Bankruptcy Court recommended the Bankruptcy Court adjudicate pre-trial matters,            adopting the
                                                   including consideration (but not determination) of dispositive motions. This Court adopted the R&Rs and the         Bankruptcy
                                                   actions were later consolidated.                                                                                    Court’s R&R,
                                                                                                                                                                       granting partial
                                                   Dondero amended his answer to assert, among other things, that he and his sister, Nancy Dondero, entered an
                                                                                                                                                                       summary judgment
                                                   undisclosed oral agreement claiming the notes would be forgiven upon fulfillment of certain conditions
                                                                                                                                                                       on breach of the
                                                   subsequent (the “Alleged Agreement Defense”). All Dondero Entities (except, initially, HCMFA) adopted the
                                                                                                                                                                       notes and entering
                                                   Alleged Agreement Defense. Dondero, NPA, and HCRE also asserted Highland “negligently” caused their
                                                   defaults under the term notes by not effectuating the payments on their behalf. In support of this “negligence”     judgment [Case
                                                   defense, the Dondero Entities moved to extend expert discovery to litigate the legal issue of whether Highland      No. 3:21-cv-
                                                   had an affirmative “duty” to effectuate payments on their behalf. The Bankruptcy Court denied the motion,           00881-X, DI 128].
                                                   finding, in pertinent part, that expert testimony on legal issues was improper. The Dondero Entities sought         The Court also
                                                   improperly sought reconsideration in this Court.                                                                    entered orders
                                                                                                                                                                       finding moot (a)
                                                   HCMFA contended the HCMFA notes were “void” or “unenforceable” due to “mutual mistake,” and specifically,           Highland’s motion
                                                   that Waterhouse, HCMFA’s treasurer and Highland’s former CFO, lacked authority to execute the notes and             to Strike
                                                   signed them by “mistake” (“HCMFA’s Mistake Defense”). HCMFA subsequently sought leave to assert that                Defendants’
                                                   Waterhouse did not sign the HCMFA notes at all. After a hearing on HCMFA’s motion for leave, the Bankruptcy         Unauthorized
                                                   Court denied the motion on the ground that the proposed additional defense (that Waterhouse did not sign the        Reply and (b)
                                                   notes) was futile. HCMFA again improperly sought reconsideration in this Court.                                     NPA/HCMS/HCR
                                                   In December 2021, Highland moved for Partial Summary Judgment. Following a hearing in April 2022, the               E’s objection to
                                                   Bankruptcy Court issued its Report & Recommendation (the “R&R”), recommending Partial Summary Judgment              the Bankruptcy
                                                   in favor of Highland.                                                                                               Court’s order
                                                   In the R&R, the Bankruptcy Court found no reasonable trier of fact could find the Alleged Agreement existed, the    denying the motion
                                                   Alleged Agreement Defense did not pass the “straight-face test,” and “there was a complete lack of evidence”        to extend expert
                                                   supporting the Alleged Agreement Defense. The Bankruptcy Court also found no reasonable trier of fact could         discovery [DI
                                                   believe HCMFA’s Mistake Defense (“the ‘Mutual Mistake’ defense—like the ‘oral agreement’ defense asserted           135].
                                                   by the other Note Maker Defendants—is farfetched, to say the least, especially in the context of a multi-billion
                                                   company with perhaps the world’s most iconic and well-known public accounting firm serving as its auditors.”).
                                                   In August 2022, Highland filed a notice of attorneys’ fees and backup documentation in support of the proposed
                                                   judgments. The Dondero Entities objected. Highland responded in September 2022.
                                                   The Dondero Entities then filed an unauthorized reply in support of their objection. Highland moved to strike on
                                                   the grounds it was not permitted under Fed. R. Bankr. P. 9033 or the parties’ Stipulation.
                                                   Highland then moved to supplement its backup documentation to include two invoices inadvertently omitted. The
                                                   Dondero Entities filed a meritless objection which was overruled.
                                                   In November 2022, the Bankruptcy Court issued a supplemental R&R overruling the Dondero Entities’ objections
                                                   to the Proposed Judgment. The Dondero Entities objected and Highland responded.

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                                                              HCMFA NOTES LITIGATION II
           Highland Capital Management, L.P. v. Highland Capital Management Fund Advisors, L.P., Adv. Proc. No. 21-03082-sgj (Bankr. N.D. Tex.)
 Date           Motion / Complaint            Plaintiff                          Summary of Proceeding                                                 Status
11/9/21   Complaint for (i) Breach of         Plaintiff:   In November 2021, Highland commenced another collection action                           CONCLUDED:
          Contract and (ii) Turnover of       Highland     against HCMFA for breach of two additional promissory notes (the             On July 6, 2 023, the District Court
          Property of the Debtor’s Estate                  “Pre-2019 Notes”) that were subject to a prepetition standstill agreement    entered an order adopting the
          [DI 1]                                           that Dondero entered into with himself. This action was consolidated         Bankruptcy Court’s R&R, granting
                                                           with the main litigations.                                                   summary judgment on breach of the
                                                                                                                                        notes and entering judgment [Case No.
                                                           HCMFA adopted the Alleged Agreement Defense asserted in the main             3:21-cv-00881-X, DI 133].
                                                           litigation. During discovery, Dondero was forced to change story his
                                                           story yet again, stating he, not his sister, entered into the Alleged
                                                           Agreement.
                                                           Highland moved for summary judgment. After a hearing, the Bankruptcy
                                                           Court issued its Report & Recommendation recommending summary
                                                           judgment be entered against HCMFA, finding, “[t]he Alleged Oral
                                                           Agreement Defense appears to be a ‘cut-and-paste’ of the same alleged
                                                           ‘oral agreement’ defense that was ultimately asserted in the Five Earlier-
                                                           Filed Note Actions by four of the five Note Maker Defendants (all but
                                                           HCMFA)” and the defense “morphed” as the five earlier-filed Main
                                                           Note Litigation progressed, “The only summary judgment evidence
                                                           submitted by HCMFA in support of its Alleged Oral Agreement Defense
                                                           is the conclusory, self-serving, unsubstantiated declarations of Dondero
                                                           and his sister regarding the existence of the Alleged Oral Agreements.”
                                                           HCMFA objected to the R&R in this Court and to Highland’s proposed
                                                           judgment in Bankruptcy Court. The Bankruptcy Court issued its
                                                           supplemental R&R recommending this Court overrule HCMFA”s
                                                           objections to the proposed judgment. HCMFA filed the same objection
                                                           to the supplemental R&R in this Court, and Highland responded.

            UBS Securities LLC and UBS AG London Branch vs. Highland Capital Management L.P., Adv. Pro. No. 21-03020-sgj (Bankr. N.D. Tex.)
 Date           Motion / Complaint            Plaintiff                          Summary of Proceeding                                                 Status
3/31/21   Original Complaint for Injunctive   Plaintiff:   In early 2021, Highland discovered certain former employees under                        CONCLUDED:
          Relief [DI 3]                         UBS        Dondero’s direction caused certain entities to transfer $300 million in      On August 23, 2022, the Court granted
                                                           face amount of cash and securities to Sentinel to avoid the judgment in      Highland’s motion to withdraw the
                                                           favor of UBS. UBS then sought to enjoin Highland from allowing funds         answer, and a permanent injunction was
                                                           under its management to make transfers to Sentinel, its affiliates, or       issued [DI 185].
                                                           transferees pending decision as to whether assets were fraudulently          At the hearing, the Court said it would
                                                           transferred.                                                                 assess the evidence to determine
                                                           On June 8, 2022, Highland filed motion to withdraw its answer and            whether a criminal referral was
                                                           consent to judgment [DI 169]                                                 warranted.




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   Charitable DAF Fund, L.P., and CLO Holdco, Ltd., v. Highland Capital Management, L.P., Highland HCF Advisor, Ltd., and Highland CLO Funding, Ltd.,
                                                       Adv. Proc. No. 21-03067-sgj (Bankr. N.D. Tex.)
 Date          Motion / Complaint           Plaintiff                           Summary of Proceeding                                                   Status
4/12/21   Original Complaint               Plaintiffs:    The Dondero Entities filed their original complaint in April 2021 in this                   APPEALS:
                                             DAF          Court alleging Highland and Seery violated SEC rules, breached                A hearing on both motions was held on
                                            CLOH          fiduciary duties, engaged in self-dealing, and violated RICO in               January 25, 2023. On February 6, 2023,
                                                          connection with its settlement with HarbourVest [Dist. Ct. Case No. 21-       the Bankruptcy Court issued its R&R,
                                                          cv-00842-B].                                                                  recommending denial of Plaintiffs’
                                                                                                                                        renewed motion to withdraw the
                                                          The Dondero Entities brought this complaint even though CLOH                  reference [DI 158], and, on February
                                                          previously withdrew its objection to the HarbourVest settlement.              21, 2023, the Dondero Entities objected
                                                          Highland believes the complaint is frivolous and represents a collateral      to the R&R [Dist. Ct. Case No. 3:22-
                                                          attack on the order approving the HarbourVest settlement.                     cv-02802-S, DI 3]. The R&R is
                                                          On May 19, 2021, Highland filed a motion to enforce the reference and         pending final decision of the District
                                                          have the case referred to the Bankruptcy Court [DI 22]. Highland also         Court.
                                                          filed a motion to dismiss the complaint (the “Original MTD”) [DI 26].         On June 25, 2023, the Bankruptcy
                                                          After the motions were briefed, the Dondero Entities moved to stay the        Court issued its order granting
                                                          proceeding pending resolution of the confirmation appeal [DI 55] (the         Highland’s renewed motion to dismiss
                                                          “First Stay Motion”). Highland opposed the First Stay Motion. In              [AP No. 21-03067-sgj, DI 167].
                                                          September 2021, the Court entered an order enforcing the reference [DI        On June 27, 2023, DAF/CLOH
                                                          64], and this matter was sent to the Bankruptcy Court under Adv. Proc.        appealed the order dismissing the action
                                                          No. 21-3067.                                                                  [DI 168]. The appeal is docketed to
                                                          On November 18, 2021, five days prior to the hearing on the Original          Dist. Ct. Case No. 3:23-cv-01503-G.
                                                          MTD, the Dondero Entities filed an amended motion to stay the
                                                          proceedings pending resolution of the appeal of the confirmation order
                                                          [DI 69] (the “Second Stay Motion”), in which they reiterated the
                                                          arguments in the First Stay Motion, and attached a motion to withdraw
                                                          the reference [id. at Exhibit A], which reiterated the same arguments in
                                                          the Dondero Entities’ opposition to Highland’s motion to enforce the
                                                          order of reference.
                                                          In March 2022, the Court dismissed the action on collateral and judicial
                                                          estoppel grounds [DI 100]. The Dondero Entities appealed and that
                                                          appeal was consolidated with their appeal of the order denying their
                                                          motion for a stay [3:21-cv-03129-B].
                                                          On September 2, 2022 [DI 28], this Court reversed the Bankruptcy
                                                          Court’s finding that Plaintiffs’ claims were barred by collateral estoppel.
                                                          On judicial estoppel, this Court affirmed the Bankruptcy Court’s finding
                                                          that the first two elements were satisfied but remanded to determine if
                                                          CLOH’s inconsistent position was “inadvertent.”
                                                          Highland filed its renewed Motion to Dismiss on October 14, 2022
                                                          [DI 122, 123].
                                                          On November 18, 2022, Plaintiffs filed a renewed motion to withdraw
                                                          the reference [DI 128].




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                      The Charitable DAF Fund, LP v. Highland Capital Management, L.P., Adv. Proc. No. 22-03052-sgj (Bankr. N.D. Tex.)
 Date          Motion / Complaint             Plaintiff                               Summary of Proceeding                                                  Status
7/22/21   Original Complaint                  Plaintiff:        DAF filed its original complaint in July 2021 in this Court alleging                     CONCLUDED:
                                                DAF             Highland violated SEC rules and breached fiduciary duties by causing         DAF filed a notice of appeal on
                                                                one of its investment vehicles to sell assets [Dist. Ct. Case No. 3:21-cv-   October 5, 2022 [Case No. 3:22-cv-
                                                                01710-N, DI 1]. DAF’s allegations duplicated allegations Dugaboy             02280-S] but on February 21, 2023
                                                                made in proofs of claim filed in the Bankruptcy Court and in its             (the day its opening brief was due)
                                                                complaint filed in this Court.                                               notified counsel it no longer intended
                                                                                                                                             to pursue it.
                                                                DAF never served the Complaint but filed a motion to stay (which was
                                                                also not served) pending appeal of the confirmation order [DI 6]. In         A joint stipulation dismissing the
                                                                September 2021, the Court stayed the proceeding [DI 7]. Highland then        appeal with prejudice was filed on
                                                                voluntarily appeared, and moved for reconsideration of the stay order        February 22, 2023 [DI 9].
                                                                [DI 8] and to dismiss [DI 11]. In May 2022, the Court lifted the stay and
                                                                referred the case to the Bankruptcy Court.
                                                                Highland filed its amended motion to dismiss in May 2022 [DI 19, 20]
                                                                arguing the complaint asserted time-barred administrative expense
                                                                claims. In September 2022, following a hearing, the Court dismissed the
                                                                complaint as time-barred [DI 42, 43].

                    PCMG Trading Partners XXIII, L.P. v. Highland Capital Management, L.P., Adv. Proc. No. 22-03062-sgj (Bankr. N.D. Tex.)
 Date          Motion / Complaint             Plaintiff                               Summary of Proceeding                                                  Status
5/21/21   Original Complaint                  Plaintiff:        PCMG filed its original complaint in April 2021 in this Court alleging                  CONCLUDED:
                                           PCMG Trading         Highland violated SEC rules and breached fiduciary duties by causing         An amended Stipulation of Dismissal of
                                         Partners XXIII, L.P.   one of its investment vehicles to sell assets [Dist. Ct. Case No. 3:21-cv-   Adversary Proceeding (with prejudice)
                                                                01169-N, DI 1]. PCMG is owned and controlled by Dondero, and held            [DI 27] was filed on August 1, 2022.
                                                                less than a 0.05% interest in the investment vehicle. Highland believed
                                                                the complaint was frivolous.
                                                                PCMG never served the Complaint but filed a motion to stay (which was
                                                                also not served) pending appeal of the confirmation order [DI 6]. In
                                                                September 2021, the Court stayed the proceeding [DI 7]. Highland then
                                                                voluntarily appeared, and moved for reconsideration of the stay order
                                                                [DI 8] and to dismiss [DI 11]. In May 2022, the Court lifted the stay and
                                                                referred the case to the Bankruptcy Court.
                                                                Highland filed its amended motion to dismiss on June 16, 2022 [DI 20,
                                                                21] arguing the complaint asserted time-barred administrative expense
                                                                claims. PCMG withdrew the complaint in July 2022 after forcing
                                                                Highland to incur substantial expense litigating the matter.




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                                                                   DISTRICT COURT ACTIONS
                     Charitable DAF Fund, L.P., and CLO Holdco, Ltd., v. Highland Capital Management, L.P., Highland HCF Advisor, Ltd.,
                                     and Highland CLO Funding, Ltd., Case No. 21-cv-00842-B (N.D. Tex. April 12, 2021)
 Date                 Motion                Movant / Objector                            Summary of Motion                                                 Status
4/19/21   Plaintiff’s Motion for Leave to       Plaintiffs:     Plaintiffs filed a motion seeking leave from this Court to add Seery as a                CONCLUDED:
          File First Amended Complaint in         DAF           defendant and to seek, in this Court, a reconsideration of two final        This Court denied the motion but with
          the District Court                     CLOH           Bankruptcy Court orders [DI 6].                                             leave to refile.
                                                                                                                                            This matter was referred to the
                                                                                                                                            Bankruptcy Court on September 20,
                                                                                                                                            2021. See Adv. Proc. No. 21-03067-sgj
                                                                                                                                            (Bankr. N.D. Tex.)

                    The Dugaboy Investment Trust v. Highland Capital Management, L.P., Case No. 21-cv-01479-S (N.D. Tex. June 23, 2021)
 Date           Motion/Complaint            Movant / Objector                            Summary of Motion                                                 Status
6/23/21   Original Complaint                    Plaintiff:      Dugaboy alleges Highland violated SEC rules and breached fiduciary                      CONCLUDED:
                                                Dugaboy         duties by causing one of its investment vehicles to sell assets. Dugaboy    Dugaboy withdrew the Complaint after
                                                                is Dondero’s family trust holding less than a 2% interest in the vehicle.   Highland informed the Bankruptcy
                                                                Dugaboy’s allegations duplicated allegations it made in proofs of claim     Court of the filing.
                                                                filed in the Bankruptcy Court.




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                                                         OTHER DONDERO-RELATED LITIGATION
Date            Parties                                                    Summary of Litigation                                                               Status
2009   UBS, Highland, Multiple   In 2008, two funds managed by Highland breached their contractual obligations to UBS by failing to meet a         This matter is currently being
       Highland Entities         margin call. UBS filed suit in New York Supreme Court in 2009. After a decade of litigation, UBS secured a $1     litigated.
                                 billion plus judgment against the two funds and sought to hold Highland, among others, liable as an alter ego.
                                 Judgment, Index No. 650097/2009, Docket No. 646 (N.Y. Sup. Feb. 10, 2020).
                                 UBS and the Dondero Entities continue to litigate. UBS filed a turnover motion in February 2023 seeking to
                                 hold Dondero and Scott Ellington, his long-time general counsel, liable for the full $1 billion plus judgment.
                                 Special Turnover Petition, Index No. UNASSIGNED, Docket No. 142 (N.Y. Sup. Feb. 8, 2023).

2018   Joshua Terry, Acis,       After Joshua Terry secured an $8 million arbitration award against Acis, Dondero caused the stripping of Acis’s           CONCLUDED:
       Highland, Neutra, Ltd.,   assets to make it judgment proof. Terry subsequently filed an involuntary bankruptcy petition. Case No. 18-       On July 9, 2021, the Fifth
       HCLOF                     30264-sgj11 (Bankr. N.D. Tex.). Through Acis’s confirmed plan of reorganization, Terry became Acis’s sole         Circuit affirmed the bankruptcy
                                 owner.                                                                                                            court’s order confirming the
                                 The Acis bankruptcy was marked by extremely acrimonious litigation and multiple adverse credibility findings      Chapter 11 plan, concluding the
                                 regarding Dondero and other Highland employees (acting at Dondero’s direction).                                   appeal of plan injunction was
                                                                                                                                                   moot [USCA Case No. 19-
                                 In the Acis bankruptcy, the Bankruptcy Court issued:                                                              10847, Doc. No.
                                 Bench Ruling and Memorandum of Law in Support of: (A) Final Approval of Disclosure Statement; and (B)             00515931634].
                                 Confirmation of Chapter 11 Trustee’s Third Amended Joint Plan [DI 827]
                                 Findings of Fact, Conclusions of Law, and Order Granting Final Approval of Disclosure Statement and
                                 Confirming the Third Amended Joint Plan for Acis Capital Management LP and Acis Capital Management GP
                                 LLC, as Modified [DI 829]
                                 Findings of Fact, Conclusions of Law, and Order Granting Final Approval of Disclosure Statement and
                                 Confirming the Third Amended Joint Plan for Acis Capital Management LP and Acis Capital Management GP
                                 LLC, as Modified [DI 830]
                                 Highland and its proxies appealed to this Court and the Fifth Circuit but their appeals were denied: Civ. Case
                                 No. 3:19-cv-00291-D; USCA Case No. 19-10847.
                                 As soon as the injunction in Acis’s plan expired, Dondero (through NSOF) immediately filed suit against Acis
                                 and Terry, among others, in the U.S. District Court for the Southern District of New York (Civ. Case No. 1:21-
                                 cv-04384). The court dismissed Dondero’s federal claims and NSOF appealed to the Second Circuit (USCA
                                 Case No. 22-1912). The appeal is pending.
                                 Stymied in federal court, Dondero, again through NSOF, filed a substantially similar action against Acis and
                                 Terry, among others, in New York state court. Index No. 653654/2022 (N.Y. Sup. 2022). Motions to dismiss
                                 NSOF’s state law action are sub judice.
                                 Immediately after the expiration of the injunction in Acis’ plan, Dondero—through NSOF—filed suit against
                                 Acis, Terry, and others in the Southern District of New York alleging they violated their fiduciary duties to
                                 NSOF as an investor in a CLO managed by Acis (and which had been managed by Dondero prior to the Acis
                                 bankruptcy). Civ. Case No. 21-cv-04384-GHW (S.D.N.Y. May 14, 2021). Dondero’s litigation caused Acis to
                                 halt distributions from its managed CLOs thus depriving HCMLP of approximately $20 million in proceeds.
                                 The Southern District of New York dismissed Dondero’s litigation. NexPoint Diversified Real Estate Trust v.
                                 Acis Cap. Mgmt., L.P., 620 F.Supp. 3d 36 (S.D.N.Y. 2022). Undeterred, Dondero appealed to the Second
                                 Circuit (Case No. 22-1912 (2d Cir.)), re-filed his breach of fiduciary duty claims in New York state court
                                 (Index No. 653654/2022 (N.Y. Sup. 2022)), asserted duplicative counterclaims in another pending litigation
                                 involving Acis (Case No. 23-cv-11059-GHW (S.D.N.Y. Dec. 24, 2021)), and filed a lawsuit against HCLOF in
                                 the Royal Court of Guernsey alleging HCLOF unfairly prejudiced CLOH by settling with Acis, rather than
                                 suing it (No. 106-25786898 (Royal Court of Guernsey))


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                                                                        STATE COURT ACTIONS
                    James Dondero, Petitioner v. Alvarez Marsal, et al., Cause No. DC-21-09534 (95th Civil District Court, Tex. July 22, 2021)
 Date                 Motion                 Movant / Objector                               Summary of Motion                                                  Status
7/22/21   Verified Petition to Take               Movant:          Dondero sought pre-suit discovery from Farallon, a purchaser of                         CONCLUDED:
          Deposition Before Suit and Seek         Dondero          certain claims in the Bankruptcy Case, and Alvarez. Dondero alleged         The state court dismissed the matter as
          Documents                                                Farallon breached certain U.S. Trustee requirements when it purchased       without merit
                                                                   claims. Dondero also alleged Farallon purchased those claims because
                                                                   of its relationship to Seery and Seery was leveraging his relationship
                                                                   with Farallon to ensure he remained in control of Highland.
                                                                   Farallon and Alvarez removed the action to the Bankruptcy Court [DI
                                                                   1]. Dondero moved to remand [DI 4]. On January 4, 2022, the Court
                                                                   remanded the case [DI 22, 23].

                                             Ellington v. Daugherty, Cause No. DC-22-00304 (101st Jud. Dist. Tex. 2022)
 Date                 Motion                 Plaintiff / Defendant                            Summary of Motion                                                 Status
1/11/22   Plaintiff’s Original Petition,           Plaintiff:        Scott Ellington, Highland’s former general counsel, sued Daugherty,       Dondero’s long-time legal counsel is
          Application for Temporary              Scott Ellington     a former Highland employee, for stalking; Ellington subpoenaed            using the pretext of a “stalking”
          Restraining Order, Temporary                               Highland’s independent directors, Highland’s bankruptcy counsel,          lawsuit to seek to discovery from
          Injunction, and Permanent               Defendant:         and other parties to the bankruptcy case requiring a motion for a         Highland that they have improperly
          Injunction                           Patrick Daugherty     protective order in New Jersey; Ellington moved to hold an                used in the Highland bankruptcy.
                                                                     independent director in contempt, in violation of the gatekeeper
                                                                     order; Ellington subpoenaed deposition of another independent
                                                                     director.
                                                                     Farallon and Alvarez removed the action to the Bankruptcy Court
                                                                     [DI 1]. Dondero moved to remand [DI 4]. On January 4, 2022, the
                                                                     Court remanded the case [DI 22, 23].

                          In re Hunter Mountain Investment Trust, Cause No. DC-23-01004 (191st Civil District Court, Tex. Jan. 20, 2023)
 Date                 Motion                 Movant / Objector                               Summary of Motion                                                  Status
1/20/23   Petitioner Hunter Mountain              Movant:          Hunter Mountain Investment Trust sought pre-suit discovery from                          CONCLUDED:
          Investment Trust’s Verified Rule    Hunter Mountain      Farallon and Stonehill as purchasers of certain claims. Hunter              The state court dismissed the matter as
          202 Petition                        Investment Trust     Mountain’s petition is substantially similar to the petition for pre-suit   without merit.
                                                                   discovery filed by Dondero in Texas state court in July 2021.

                                  Highland Cap. Mgmt., L.P. v. SE Multifamily Holdings LLC, et al, Case No. 2023-0493 (Del. Chan.)
 Date                 Motion                 Movant / Plaintiff                              Summary of Motion                                                  Status
5/5/23    Verified Complaint for Specific         Plaintiff:       Highland filed complaint seeking specific performance of the SE             Highland was forced to bring an
          Performance to inspect and Copy         Highland         Multifamily operating agreement, First Amended and Restated Limited         action for specific performance when
          Books and Records                                        Liability Company Agreement, dated March 15, 2019, effective as of          Dondero failed to comply with his
                                                                   August 23, 2018, to allow Highland to inspect books and records after       unambiguous contractual obligation
                                                                   defendants SE Multifamily Holdings LLC and HCRE refused to make             to provide Highland with access to
                                                                   available for inspection and copying SE Multifamily’s books and records     SEM’s books and records.
                                                                   as is required by Agreement.


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                                                                                      OTHER
                                                                             US TRUSTEE LETTERS
Date                                                            Summary of Matter                                                                           Status
2021;     Dugaboy, NPA, and HCMFA sent three baseless and factually inaccurate letters to the Office of General Counsel, Executive                           N/A
2022      Office for U.S. Trustees in November 2021 and May 2022. The letters, totaling roughly 200 pages, allege a litany of
          wrongdoing by Highland, Seery, and others, arising from their administration of the bankruptcy estate. [DI 3662-1]

                                                                      TEXAS STATE SECURITIES BOARD
 Date                                                           Summary of Matter                                                                           Status
 May      Mark Patrick, as the DAF’s trustee, admitted that the DAF or “one of its entities” filed a complaint against HCMLP with the    In May 2023, the TSSB, after “full
 2023     Texas State Securities Board (the “TSSB”) during the Bankruptcy Case.                                                          consideration,” closed its investigation of
                                                                                                                                         HCMLP without finding any wrongdoing.

                                                  In re Highland Select Equity Master Fund, L.P., Case No. 23‐31037‐swe7 and
                                         In re Highland Select Equity Fund GP, L.P., Case No. 23‐31039‐mvl7 (not jointly administered)
 Date                                                         Summary of Proceeding                                                                         Status
5/25/23   Select Equity Master Fund and Select Equity Fund filed for bankruptcy in May 2023. These entities only filed because Dugaboy   Dugaboy and PCMG both tried to sue
          initiated litigation in SDNY. See The Dugaboy Investment Trust v. Highland Select Equity Master Fund, L.P. et al., Case No.    Highland for mismanagement of Select fund
          1:23‐cv‐01636‐MKV.                                                                                                             during the Highland bankruptcy, but were
                                                                                                                                         stymied. Highland made an offer to give
                                                                                                                                         Dugaboy everything in Select Fund to avoid
                                                                                                                                         costs being incurred, but Dugaboy has not
                                                                                                                                         responded. Dugaboy filed objection to
                                                                                                                                         reassign the case to Judge Jernigan, arguing
                                                                                                                                         she is biased.




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